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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
ABBY GROSSBERG,                                                         Case No.: 1:23-cv-02368-JMF

                                   Plaintiff,

                 - against -


FOX CORPORATION, FOX NEWS NETWORK, LLC,
JERRY ANDREWS, TUCKER CARLSON,
DAVID CLARK, THOMAS FOX,
RALPH GIORDANO, ALEXANDER MCCASKILL,
JUSTIN WELLS, and LESLEY WEST,
                                    Defendants.
------------------------------------------------------------------X

                               NOTICE OF VOLUNTARY DISMISSAL

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Abby Grossberg hereby voluntarily

dismisses the instant action, with prejudice.

Dated: White Plains, New York
       June 30, 2023



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